8:10-cr-00146-JFB-TDT        Doc # 126     Filed: 11/12/10    Page 1 of 1 - Page ID # 286




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )          8:10CR146
                     Plaintiff,                   )
                                                  )
       vs.                                        )           ORDER
                                                  )
RICHARD COSTANZO,                                 )
THERESA COSTANZO,                                 )
JANNA WASKO, and                                  )
MICHAEL WASKO,                                    )
                                                  )
                     Defendants.                  )


       This matter is before the court on the motions of Michael Wasko (Filing No. 121)
and Janna Wasko (Filing No. 122) for modification of their release orders to permit them
to possess long barreled hunting rifles for participating in this year’s deer hunting season.
After review of their adherence to the existing conditions of release, the court finds the
motions (Filing Nos. 121 and 122) should be and are granted.


       IT IS SO ORDERED.


       DATED this 12th day of November, 2010.

                                                  BY THE COURT:


                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
